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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


PATRICK REDDINGTON, on behalf of                   :
himself and all persons similarly situated         :
44 Salter Street                                   : Case No.:
Springfield, NJ 07081                              :
                                                   : Class Action Complaint
                Plaintiffs,                        :
                                                   : Jury Trial Demanded
       v.
                                                   :
                                                   :
VOX MEDIA, INC., d/b/a SB NATION,                  :
1201 Connecticut Avenue NW, 11th Floor             :
Washington, DC 20036                               :
                                                   :
                Defendant.                         :

                                        INTRODUCTION

       1.       Plaintiff Patrick Reddington brings this action against Defendant Vox Media, Inc.,

(“Defendant” or “Vox”), individually, for violations of the Fair Labor Standards Act (“FLSA”).

       2.       Plaintiff Patrick Reddington also brings this class action against Defendant on

behalf of himself and all other former and current paid content contributors for Vox’s sports

blogging network and flagship property SB Nation in New Jersey, who Vox classified as

independent contractors. SB Nation operates over 300 team sites dedicated to publishing written

articles, videos, and other content on professional and college sports. Each team site posts daily

coverage on games, statistics, player trades, and culture. The more traffic the team sites attract,

the more advertising revenue Vox generates. Vox pays Plaintiff and similarly situated class

members (“Content Contributors”) a small monthly stipend to create and edit the written, video,

and audio content on these team sites. Content Contributors’ posts are the core of Vox’s

business.
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       3.        During the entire class period, Vox uniformly and consistently misclassified

Content Contributors – including job titles such as Site Manager, Associate Editor, Managing

Editor, Deputy Editor, and Contributor – as independent contractors in order to avoid its duties

and obligations owed to employees under New Jersey law and to gain an unfair competitive

advantage over its competitors that properly classify its workers as employees. Vox controls and

directs the performance of Content Contributors in writing and editing content for its blogs, both

under contracts it enters with some Content Contributors (but not all) and in fact. Content

Contributors create the written, video, and audio content that makes up SB Nation’s team site

network and generates advertising revenue. Their work is central to SB Nation’s business.

Content Contributors do not create and edit content for their own independent businesses, but

create content solely for SB Nation team sites.

                                   NATURE OF THE ACTION

       4.        This is an individual action brought under the FLSA and putative class action

brought by an employee of Defendant seeking unpaid minimum wages and overtime wages,

pursuant to the New Jersey Wage and Hour Law, N.J.S.A. 34:11-56a et seq. (“NJWHL”).

                                 JURISDICTION AND VENUE

       5.        Jurisdiction over Plaintiff’s FLSA claims is proper under 29 U.S.C. § 216(b) and

28 U.S.C. § 1331.

       6.        Any claims arising under state law are properly before this Court pursuant to 28

U.S.C. § 1367.

       7.        Venue is proper in the Court pursuant to 28 U.S.C. § 1391. Defendant is

headquartered in this District. The events giving rise to Plaintiff’s claims occurred within this

District, and Defendant conduct business in this District.



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                                             PARTIES

        8.       Plaintiff Patrick Reddington is an adult individual who has been employed by

Defendant since 2007 for his work as a Site Manager for SB Nation’s team site dedicated to the

Washington Nationals called “Federal Baseball.” However, Defendant classified Plaintiff as an

independent contractor. During that time, Plaintiff resided and worked in Springfield, Union

County, New Jersey.

        9.       Defendant Vox Media, Inc. is a Delaware corporation based in Washington, D.C.

and doing business in this District, New Jersey and nationwide. Vox operates and maintains

media websites, including over 300 sports blogs under its flagship property SB Nation.

        10.      Defendant employs individuals engaged in commerce or in the production of

goods for commerce and/or handling, selling, or otherwise working on goods or materials that

have been moved in or produced in commerce by any person, as required by 29 U.S.C. §§ 206-

207.

        11.      Defendant’s annual gross volume of business exceeds $500,000.

        12.      Defendant was at all relevant times an “employer” of Plaintiff and the putative

class, within the meaning of the NJHWL.

                                   FACTUAL ALLEGATIONS

        13.      Defendant is a media corporation made up of several brands including SB Nation,

Polygon, Eater, Racked, Curbed, ReCode, The Verge, and Vox. SB Nation, Vox’s sports

blogging network, owns, operates, and maintains over 300 team sites, each dedicated to a

professional sports team, professional sports region, or college known for its amateur sports.

There are team sites dedicated to numerous professional and amateur sports nationwide.

A.     Defendant Uniformly Misclassifies Content Contributors as Independent Contractors



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           14.      To generate advertisement revenue from team sites, Defendant requires a steady

stream of written, video, and audio content on its team sites from Content Contributors to attract.

Defendant hires a Site Manager for each team site to manage, edit, and create content, who in

turn is responsible for finding other contributors to create additional blog posts. Some of these

contributors are given a monthly stipend, while other contributors are unpaid. Vox posts open

contributor positions on its website, but does not always indicate whether or not the position is

paid.1

           15.      Defendant views its Content Contributors as independent contractors. Defendant

requires some Content Contributors to sign a “Blogger Agreement,” which states that Content

Contributor’s relationship with Defendant is as an independent contractor. Defendant does not

withhold payroll taxes from its monthly payments to Content Contributors.

           16.      Though Defendant classifies Content Contributors as independent contractors,

Defendant exercises substantial control over the manner and means by which Content

Contributors accomplish their work.

           17.      Content Contributors are required to create and/or edit certain numbers of posts

per week. The Blogger Agreements some Content Contributors were required to sign often

memorialized Defendant’s expectation for the number of blog posts per week the Content

Contributor was expected to create and/or edit.

           18.      Defendant gives Content Contributors instructions about how to conform posts to

increase site traffic from online search engines, known as “search engine optimization.” Content

Contributors are told how to craft headlines and tag posts to attract the most viewers to each post.



1
    See Careers, Vox Media, available at: https://www.voxmedia.com/pages/careers-jobs (last accessed September 18,
           2018). The job description for “Site Manager” indicates that it is paid with a monthly stipend, while the job
           description for “Contributor” is silent about compensation.

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They are also instructed on how long certain types of posts should be (such as pre-game

previews, instant recaps, and in-depth game analysis), and what key information should be

included in each type of post.

       19.     The blog posts created by Content Contributors are core to Defendant’s business.

The more Content Contributors post, the more traffic to each team site, and the more revenue

Defendant can generate from advertisers. Defendant pressures Content Contributors to maintain

a constant flow of posted content on these team sites to attract advertisers, but Content

Contributors do not see the benefits of advertising revenue. Content Contributors take no part in

negotiating advertisements on team sites; all the negotiations for advertisements are handled

directly by Defendant. Content Contributors have no stake in Defendant’s profits or losses.

       20.     While Content Contributors were not always under direct supervision by

Defendant, neither were they independent journalists who sold their stories to the highest

bidder—Content Contributors created and edited content for the purpose of posting it on

Defendant’s team sites.

       21.     Defendant does not hire Content Contributors for their unique set of skills.

Defendant does not require, for example, a college degree or prior experience in journalism.

Defendant’s job posting for a contributor position on a professional basketball team site lists an

applicant’s minimum qualifications as including that the applicant is “a huge fan of basketball,”

has “strong opinions on [the] team” and takes “genuine pride in [their] writing.” Applicants

must also “be able to write complete sentences.”

       22.     Defendant requires Content Contributors to have access to the internet on their

personal computers and smart phones, but Content Contributors’ work does not require any




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special tools or equipment. Defendant provides content contributors with access to internal

communication and editing software.

        23.    Vox had the authority to hire and fire Plaintiff Reddington.

        24.    Plaintiff Reddington possessed no opportunity for profit or loss. Rather, he was

paid a flat $600 per month, regardless of Vox’s profitability, how many hours he worked each

week, or how many articles he produced.

        25.    Plaintiff Reddington did not share in Vox’s advertising revenue. Vox did not

permit Plaintiff to advertise his own personal brand or content on the SB Nation website.

        26.    Plaintiff Reddington was not required to invest in equipment or materials with

respect to his employment at Vox. Plaintiff merely used his existing personal computer and

smart phone to perform services for Vox.

        27.    Plaintiff Reddington’s services required no special skill. For example, no specific

academic qualifications were required to be a Site Manager, much less a college degree.

        28.    Plaintiff Reddington’s employment with Vox was in the nature of a permanent

relationship. Plaintiff has been employed by Vox since 2007.

        29.    The services performed by Plaintiff Reddignton as a Site Manager for Vox,

including writing sports articles, is integral to Vox’s business. Indeed, the content created by its

writer constitutes the entirety of the product offered by SB Nation. Without the existence of the

content published on Plaintiff’s SB Nation team site, advertisers would not pay Vox to advertise

on the site.

        30.    As a matter of economic reality, Plaintiff Reddignton was dependent on Vox for

income, and therefore was an employee of Vox. Given the number of hours Plaintiff worked for

Vox, the possibility and extent of outside employment was heavily curtailed.



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B.       Defendant Pays Content Contributors a Small Monthly Stipend Insufficient to Meet
         the Legal Federal or New Jersey Minimum Wage.

           31.      Defendant pays Content Contributors a flat monthly stipend. Defendant does not

increase the stipend as Content Contributors work more hours, such as when their teams make it

to the playoffs.

           32.      Plaintiff, for example, worked an average of approximately sixty-three hours a

week during the MLB regular season for the past two years, and was paid, at most, a stipend of

only $600 per month—an average of approximately $2.38 per hour. Even during the off-season,

Plaintiff still worked approximately 31 hours a week, which amounted to an hourly wage of only

approximately $4.84. Given the number of hours Content Contributors work for Defendant

every month, this monthly stipend is frequently, if not always, under the minimum wage required

by New Jersey law.

           33.      According to recent reporting from Deadspin, some Content Contributors have

agreements to write a minimum of two posts per week for a $25 per month stipend, which totals

about $3.13 per blog, or even less under an hourly rate.2

C.       Defendant Does Not Pay Content Contributors Overtime Wages

           34.      Content Contributors are sometimes assigned duties that require them to work

over forty hours per week.

           35.      Plaintiff, for example, worked on average approximately 63 hours per week

during the baseball season.

           36.      Defendant does not pay any Content Contributor overtime wages for the time they

work beyond eight hours per day or forty hours per week.


2
    See Laura Wagner, SB Nation Is Paying Workers As Little As $3 Per Blog Post, Deadspin (July 31, 2018),
           https://deadspin.com/sb-nation-is-paying-workers-as-little-as-3-per-blog-po-1827998745 (last accessed
           Sept. 28, 2018).

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D.   Defendant Does Not Reimburse Content Contributors for Reasonable Business
     Expenses

       37.      Defendant requires Content Contributors to use their own computers, smart

phones, and internet access to create and edit content, as well as to communicate with editors,

Site Managers, or SB Nation supervising employees. Defendant does not reimburse Content

Contributors for their personal computers, smart phones, or internet access expenses.

       38.      Content Contributors are required to watch sports live or on television so that they

may write or create video content about games or matches. Defendant does not reimburse

Content Contributors for the costs of attending, watching, or traveling to these sporting events.

                                CLASS ACTON ALLEGATIONS

       39.      Plaintiff seeks to represent the following class of similarly situated individuals

pursuant to Federal Rule of Civil Procedure 23 on behalf of the following class of persons:

                All Content Contributors who created and/or edited written, video,
                or audio content for an SB Nation team site in New Jersey at any
                time on or after six years prior to the filing of this action, were
                classified as independent contractors, and were paid compensation
                directly from Vox.

       40.      The putative class is so numerous that joinder of all members is impracticable.

Although the precise number of such persons is unknown, and the facts on which the calculation

of that number would be based are within the sole custody and/or control of Defendant, upon

information and belief, Defendant has employed over thirty-five Content Contributors in New

Jersey during the Class Period.

       41.      Among the proposed class, common questions of law and fact exist as to all Class

Members and predominate over any questions that affect only individual Class Members. Those

common questions include, but are not limited to:

             a. Whether Defendant misclassified Class Members as independent contractors for

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                purposes of the NJWHL as defined by the Supreme Court of New Jersey in

                Hargrove v. Sleepy’s, LLC, 220 N.J. 289 (2015);

             b. Whether Defendant paid Class Members at least the minimum wage;

             c. Whether Defendant paid Class Members an overtime premium for all overtime

                hours worked;

             d. Whether Defendant is required to reimburse Class Members for a portion of their

                home internet, personal computer, and personal smart phone expenses.

       42.      Plaintiff’s claims are typical of those belonging to members of the Class in that:

(1) Plaintiff is a member of the Class; (2) Plaintiff’s claims arise from the same practice or

course of conduct that forms the basis of the Class claims; (3) Plaintiff’s claims are based upon

the same legal and remedial theories as those of the Class and involve similar factual

circumstances; (4) there is no antagonism between the interests of Plaintiff and absent Class

Members; and (5) the injuries that Plaintiff suffered are similar to the injuries that Class

Members suffered.

       43.      Plaintiff will fairly and adequately represent the Class. There is no conflict

between Plaintiff’s claims and those of other Class Members. Plaintiff has retained counsel who

are skilled and experienced in class actions and who will vigorously prosecute this litigation.

       44.      The Class is readily ascertainable from Defendant’s own records.

       45.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy because joinder of all members is impracticable. Furthermore,

the damages suffered by individual Class Members may be relatively small and the expense and

burden make it impracticable for Class Members to individually seek redress.

       46.      Plaintiff knows of no difficulty that might be encountered in the management of



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this litigation that would preclude its maintenance as a class action

                                      COUNT I
                         Minimum Wage Violation, 29 U.S.C. § 206(a)

       47.     All previous paragraphs are incorporated as though fully set forth herein.

       48.     The FLSA requires that covered employees be compensated for all hours worked

at a rate of not less than $7.25 per hour. See 29 U.S.C. § 206(a)(1).

       49.     Vox is subject to the wage requirements of the FLSA because Vox is an “employer”

under 29 U.S.C. § 203(d).

       50.     At all relevant times, Vox is an “employer” engaged in interstate commerce and/or

in the production of goods for commerce within the meaning of the FLSA, 29 U.S.C. § 203.

       51.     During all relevant times, Plaintiff Reddington was a covered employee entitled to

the above-described FLSA protections. See 29 U.S.C. § 203(e).

       52.     Plaintiff Reddington is not exempt form the requirement of the FLSA. Plainitff is

entitled to be paid for all hours worked at a rate of not less than $7.25 per hour, pursuant to 29

U.S.C. § 206(a)(1).

       53.     Vox’s compensation scheme applicable to Plaintiff failed to comply with 29 U.S.C.

§ 206(a)(1).

       54.     Vox knowingly failed to compensate Plaintiff Reddington for all hours worked at

a rate of not less than $7.25 per hours, in violation of 29 U.S.C. § 206(a)(1).

       55.     Vox also failed to make, keep, and preserve records with respect to Plaintiff

Reddington to determine his wages, hours, and other conditions of employment in violation of the

FLSA. 29 U.S.C. § 211(c); 29 C.F.R. §§ 516.5(a), 516.6(a)(1), 516.2(c).

       56.     In violation of the FLSA, Vox acted willfully and with reckless disregard of clearly

applicable FLSA provisions.

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       57.     Pursuant to 29 U.S.C. § 216(b), employers such as Vox, who intentionally fail to

pay an employee wages in conformance with the FLSA shall be liable to the employee for unpaid

wages, liquidated damages, court costs and attorneys’ fees incurred in recovering the unpaid wages

                                        COUNT II
                            Overtime Violation, 29 U.S.C. § 207(a)

       58.     All previous paragraphs are incorporated as though fully set forth herein.

       59.     The FLSA requires that covered employees be compensated for all hours worked

in excess of forty (40) hours per week at a rate not less than one and one-half (1 ½) times the

regular rate at which they are employed, not to fall below 1 ½ times the minimum wage. See 29

U.S.C. §§ 206(a)(1), 207(a)(1).

       60.     Vox is subject to the wage requirements of the FLSA because Vox is an “employer”

under 29 U.S.C. § 203(d).

       61.     At all relevant times, Vox is an “employer” engaged in interstate commerce and/or

in the production of goods for commerce within the meaning of the FLSA, 29 U.S.C. § 203.

       62.     During all relevant times, Plaintiff Reddington was a covered employee entitled to

the above-described FLSA protections. 29 U.S.C. § 203(e).

       63.     Plaintiff is not exempt from the requirements of the FLSA. Plaintiff is entitled to

be paid overtime compensation for all hours worked over forty (40) in a workweek not to fall

below 1 ½ times the minimum wage. 29 U.S.C. §§ 206(a)(1), 207(a)(1).

       64.     Vox’s compensation scheme applicable to Plaintiff Reddington failed to comploye

with 29 U.S.C. §§ 206(a)(1), 207(a)(1).

       65.     Vox knowingly failed to compensate Plaintiff Reddington at a rate of one and one

half (1 ½) time their regular hourly wage for hours worked in excess of forty (40) hours per week,

not to fall below 1 ½ time the minimum wage, in violation of 29 U.S.C. §§ 206(a)(1), 207(a)(1).

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       66.     Vox also failed to make, keep, and preserve records with respect to Plaintiff

sufficient to determine his wages, hours, and other conditions of employment in violation of the

FLSA. 29 U.S.C. § 211(c); 29 C.F.R. §§ 516.5(a), 516.6(a)(1), 516.2(c).

       67.     In violating the FLSA, Vox acted willfully and with reckless disregard of clearly

applicable FLSA provisions.

       68.     Pursuant to 29 U.S.C. §216(b), employers such as Vox, who intentionally fail to

pay an employee wages in conformance with the FLSA shall be liable to the employee for unpaid

wages, liquidated damages, court costs and attorneys’ fees incurred in recovering unpaid wages.

                                       COUNT III
                               NJWHL Minimum Wage Violation

       69.     Plaintiff, on behalf of himself and all Class Members, re-alleges and incorporates

by reference the allegations contained in the paragraphs above as if fully set forth here.

       70.     The NJHWL, N.J. Stat. Ann. § 34:11-56a4(a), entitles employees to an amount

equal to or greater than the minimum wage for all hours worked.

       71.     Defendant paid Plaintiff and Class Members a fixed monthly stipend independent

of the number of hours they worked each month. Given the number of hours Plaintiff and Class

Members worked each month, Defendant’s monthly stipend was insufficient to meet the legal

minimum wage.

       72.     As a result of Defendant’s failure to Plaintiff and Class Members the legal

minimum wage, Plaintiff and Class Members are entitled to recover the unpaid balance of the

full amount of the minimum wage for all hours worked, plus interest, liquidated damages,

attorney’s fees and costs, as well as further relief as described below.




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                                       COUNT IV
                                NJWHL Overtime Pay Violation

         73.   Plaintiff, on behalf of himself and all Class Members, re-alleges and incorporates

by reference the allegations contained in the paragraphs above as if fully set forth here.

         74.   The NJHWL, N.J. Stat. Ann. § 34:11-56a4(b), entitles employees to overtime

premiums for hours worked in excess of forty (40) hours in a given workweek. All hours must

be paid at the statutory or agreed rate and no part of this rate may be used as a credit against a

minimum wage obligation.

         75.   While misclassified as independent contractors, Plaintiff and Class Members

worked in excess of forty hours per week, and Defendant unlawfully failed to pay Plaintiff and

Class Members the proper overtime compensation.

         76.   As a result of these violations, Defendant is liable for unpaid overtime wages,

interest, liquidated damages, and attorneys’ fees and costs, as well as further relief as described

below.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests this Court to grant the following relief

against Defendant as follows:

         A.    Certify this action as a class action pursuant to Federal Rule of Civil Procedure 23,

and appoint Plaintiff as Class Representative and his attorneys as Class Counsel;

         B.    Direct class notice to all Class Members;

         C.    Declare that Defendant misclassified all Class Members as independent

contractors;

         D.    Award minimum wages, overtime wages, deductions and expenses, plus liquidated

damages to Plaintiff and Class Members;

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       E.     Award pre-judgment and post-judgment interest at the highest rates allowed by law;

       F.     Enjoin Defendant from violating New Jersey law;

       G.     Award costs and expenses of this action;

       H.     Award reasonable attorneys’ fees; and

       I.     Award such other relief as this Court deems just and proper.

                                   JURY TRIAL DEMAND

       Plaintiff demands a trial by jury on claims so triable.

Date: July 1, 2020                            Respectfully submitted,

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                                              *pro hac vice application to be filed

                                              Attorneys for Plaintiff and the Putative Class




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